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                  IN THE UNITED STATES DISTRICT COURT
                  FOR THE NORTHERN DISTRICT OF TEXAS
                            DALLAS DIVISION

UNITED STATES OF AMERICA                    )
                                            )
VS.                                         )       CASE NO.: 3:09-CR-291-K (27)
                                            )
JOSE LUIS RAMIREZ                           )

          ORDER ACCEPTING REPORT AND RECOMMENDATION
             OF THE UNITED STATES MAGISTRATE JUDGE
                   CONCERNING PLEA OF GUILTY

      After reviewing all relevant matters of record, including the Notice Regarding

Entry of a Plea of Guilty, the Consent of the defendant, and the Report and

Recommendation Concerning Plea of Guilty of the United States Magistrate Judge, and

no objections thereto having been filed within ten days of service in accordance with 28

U.S.C. § 636(b)(1), the undersigned District Judge is of the opinion that the Report and

Recommendation of the Magistrate Judge concerning the Plea of Guilty is correct, and

it is hereby accepted by the Court. Accordingly, the Court accepts the plea of guilty and

Plea Agreement and Defendant is hereby adjudged guilty. Sentence will be imposed in

accordance with the Court’s scheduling order.

      SO ORDERED.

      SIGNED this 15th day of April, 2010.




                                                ED KINKEADE
                                                UNITED STATES DISTRICT JUDGE
